            Entered on Docket August 17, 2023                     Below is the Judgment of the Court.



                                                                  __________________________
 1                                                                Timothy W. Dore
                                                                  U.S. Bankruptcy Court Judge
 2                                                                (Dated as of Entered on Docket date above)

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 6        _________________________________________________________________

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 8
                           IN THE UNITED STATES BANKRUPTCY COURT
 9                        FOR THE WESTERN DISTRICT OF WASHINGTON

10
     STENSGAARD, Lisa Marie,
11
     Debtor.                                               Number 19-11116
12   ___________________________________
                                                           Adversary Number: 23-01007
13   STENSGAARD, Lisa Marie,
14                                                         EX PARTE CONSENT JUDGMENT
     Plaintiff,
                                                           DECLARING DISCHARGEABLE
15   v.                                                    PLAINTIFF’S STUDENT LOAN DEBT
16
     UNITED STATES OF AMERICA
17   ACTING THOUGH THE U.S.
     DEPARTMENT OF EDUCATION,
18
     Defendant.
19
             Plaintiff Lisa Marie Stensgaard and Defendant United States of America,
20
     acting through the U.S. Department of Education (DOE) filed an “Ex Parte Joint Motion for
21

22   Entry of Consent Judgment Declaring Dischargeable Plaintiff’s Student Loan Debt” (Joint

23   Motion). For the reasons stated in the parties’ Joint Motion, the Court finds that Plaintiff is

24   entitled to a declaration that her student loan debt held by DOE, as described in the Certificate of

25   Indebtedness attached hereto as Exhibit A (the Debt), is dischargeable under 11 U.S.C. §
     EX PARTE CONSENT JUDGMENT DECLARING
26   DISCHARGEABLE PLAINTIFF’S STUDENT LOAN DEBT- 1
                                                                   Law Offices of Travis Gagnier, Inc., P.S
                                                                      33507 Ninth Avenue South, Bldg. F

27                                                                             P.O. Box 3949
                                                                       Federal Way, WA 98063-3949

28    Case 23-01007-TWD           Doc 14     Filed 08/17/23
                                                                Phone: (253) 941-0234; gagnierecf@bestbk.com
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                                                                Below is the Judgment of the Court.




     523(a)(8).
 1
            Accordingly, the Court GRANTS the Joint Motion and enters the following
 2

 3   Consent Judgment:

 4    1. Repaying the Debt would impose an undue hardship on Plaintiff under 11 U.S.C. §

 5         523(a)(8).

 6    2. The Debt is dischargeable under 11 U.S.C. § 523(a)(8).
 7    3. If Plaintiff completes her Chapter 13 Plan and receives a general discharge under 11 U.S.C.
 8
           § 1328 in Case No. 19-11116, the Debt shall be included within such discharge.
 9
      4. Plaintiff and DOE shall bear their own costs and attorney fees related to this action.
10
                                            ///END OF ORDER///
11
     Jointly Presented by:
12
     Law Offices of Travis Gagnier, Inc., P.S.
13   Attorneys for Plaintiff
14
     /s/ Travis A. Gagnier
15   Travis A. Gagnier, WSBA #26379
     Gregory Jalbert, WSBA #9440
16   Of Counsel

17   and
18   United States Department of Justice
19   By: /s/ Kyle A. Forsyth
20   Kyle A. Forsyth, WSBA #34609
     Assistant United States Attorney
21   U.S. Department of Justice
     Western District of Washington
22   700 Stewart Street, Suite 5220
     Seattle, WA 98101
23   kyle.forsyth@usdoj.gov

24

25
     EX PARTE CONSENT JUDGMENT DECLARING
26   DISCHARGEABLE PLAINTIFF’S STUDENT LOAN DEBT- 2
                                                                 Law Offices of Travis Gagnier, Inc., P.S
                                                                    33507 Ninth Avenue South, Bldg. F

27                                                                           P.O. Box 3949
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